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The following constitutes the ruling of the court and has the force and effect therein described.




Signed December 3, 2021
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re:                                          Case No. 19-34054-sgj11
      HIGHLAND CAPITAL MANAGEMENT, L.P.
      Reorganized Debtor.                             Chapter 11

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No. 21-03003-sgj
      JAMES D. DONDERO, NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,
               Defendants.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No.: 21-03005-sgj
      NEXPOINT ADVISORS, L.P., JAMES DONDERO,
      NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,
               Defendants.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
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    v.                                                         Adversary No.: 21-03006-sgj
    HIGHLAND CAPITAL MANAGEMENT
    SERVICES, INC., JAMES DONDERO, NANCY
    DONDERO, AND THE DUGABOY INVESTMENT
    TRUST,
              Defendants.

    HIGHLAND CAPITAL MANAGEMENT, L.P.,
              Plaintiff.
    v.                                                         Adversary No.: 21-03007-sgj
    HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL
    ESTATE PARTNERS, LLC), JAMES DONDERO,
    NANCY DONDERO AND THE DUGABOY
    INVESTMENT TRUST,
              Defendants.



MEMORANDUM OPINION AND ORDER DENYING ARBITRATION REQUEST AND
                      RELATED RELIEF
         I.      Introduction and Background
        The four above-referenced adversary proceedings, Adversary Proceeding Nos. 21-3003,
21-3005, 21-3006, and 21-3007, started out as what seemed like simple suits by a Chapter 11
Debtor to collect on large promissory notes owed to it (collectively, the “Note Adversary
Proceedings”). The court held a hearing on November 9, 2021 (“Hearing”) on various motions
filed by certain defendants in the Note Adversary Proceedings. This Memorandum Opinion and
Order addresses certain motions to compel arbitration and to stay these Note Adversary
Proceedings while arbitration would be proceeding. 1 For the reasons set forth below, the court will
not compel arbitration or stay these Note Adversary Proceedings.
      The Note Adversary Proceedings were originally brought many months ago by Plaintiff
Highland Capital Management L.P., now a reorganized debtor (“Highland” or “Reorganized
Debtor”), again, as simple suits on notes—that is, alleging breach of contract and seeking turnover
of amounts owed from the various obligors under the notes (the “Note Obligor Defendants”). Each
Note Obligor Defendant was closely related to Highland’s former president, James Dondero (“Mr.
Dondero), 2 and collectively borrowed tens of millions of dollars from Highland prepetition. The



1 Certain defendants herein earlier filed a motion to withdraw the reference in these Note Adversary Proceedings
(arguing that the claims were statutory noncore claims or that the bankruptcy court otherwise did not have
Constitutional authority to enter final orders). The District Court accepted the bankruptcy court’s report and
recommendation that the reference should be withdrawn when these Note Adversary Proceedings are trial-ready with
the bankruptcy court acting essentially in the position of a magistrate judge for the District Court prior to trial,
presiding over all pretrial matters.
2   In fact, Mr. Dondero personally was an obligor on three notes.


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indebtedness was memorialized in a series of demand and term notes. The indebtedness
represented by those notes remains unpaid.
       The Note Adversary Proceedings morphed, so to speak, when the Note Obligor Defendants
defended the Note Adversary Proceedings by alleging that an oral agreement existed such that the
underlying notes would be forgiven by Highland as compensation to Highland’s former president,
Mr. Dondero, if certain conditions subsequent occurred. The oral agreement was allegedly made
on behalf of Highland, acting through one of its largest limited partners, Dugaboy Investment Trust
(“Dugaboy”), which is a family trust of Mr. Dondero, on which the trustee is his sister Nancy
Dondero (“Ms. Dondero”).
        When this “oral agreement” defense was articulated, this court granted Highland’s request
for leave to amend its original complaints in each of the Note Adversary Proceedings to allege
alternative theories of liability and add Mr. Dondero, 3 Dugaboy, and Ms. Dondero as additional
defendants on new counts—the theories being that, if such an oral agreement was made, it may
have given rise other causes of action on the part of the actors involved. Highland amended its
complaints in each of the Note Adversary Proceedings, adding new Counts III, IV, V, VI, and VII
alleging, among other things, fraudulent transfers (Counts III and IV), declaratory judgment as to
certain provisions of Highland’s limited partnership agreement (Count V), breach of fiduciary duty
(Count VI), and aiding and abetting breach of fiduciary duty (Count VII) (the “Amended
Complaints”).
        Presently before the court are a set of virtually identical motions filed by Mr. Dondero,
Dugaboy, and Ms. Dondero in each of the four Note Adversary Proceedings seeking to compel
arbitration as to Counts V, VI, and VII of, and stay litigation altogether in, the Note Adversary
Proceedings, pending the arbitration of Counts V, VI, and VII (the Motion to Compel Arbitration
and Stay Litigation [Doc. 85, 66, 74, and 65, respectively, in each sequentially-numbered Note
Adversary Proceeding 4], the “Arbitration Motions”). Highland timely filed objections to the
motions [Doc. 92, 76, 81, and 77] and replies were filed by Mr. Dondero, Dugaboy and Ms.
Dondero [Doc. 107, 88, 93, and 88]. 5
        As set forth below, Mr. Dondero, Dugaboy, and Ms. Dondero (hereinafter the
“Dondero/Dugaboy Defendants”) rely on a mandatory arbitration clause in Highland’s Limited
Partnership Agreement as the basis for their arbitration request. To be clear, there are no arbitration
clauses in the underlying promissory notes. And the Note Obligor Defendants are not seeking
arbitration of the breach of contract claims, turnover claims, or fraudulent transfer claims. It is

3Mr. Dondero was actually already a Note Obligor Defendant in Adv. Proc. No. 21-3003, as he as an obligor on three
notes.
4   All subsequent “Doc.” references in this Memorandum Opinion and Order follow this convention.
5 The court considered these replies despite the lateness of their filing, less than two business days before the Hearing.
At the Hearing, Highland noted its displeasure with these replies being filed 37 days after Highland filed its objections
but did expressly did not ask the court to strike the replies. The court reminds the parties, as Highland correctly pointed
out, that the Local Civil Rules for the Northern District of Texas, and not the Local Bankruptcy Rules, apply to these
adversary proceedings in all respects, since the reference to the Bankruptcy Court was withdrawn and this court is
conducting all proceedings in the position of a magistrate judge for the District Court. The replies here were required
to be filed no later than 14 days following the filing of Highland’s objections. See Local Civil Rule 7.1(f).


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only the Dondero/Dugaboy Defendants seeking arbitration as to Count V (seeking declaratory
judgment as to provisions of the Highland limited partnership agreement) and Counts VI and VII
(the fiduciary duty claims). The court denies the Arbitration Motions for the reasons stated below.
    II.       The Agreement Containing the Arbitration Clause
        First, a word about what is and is not in dispute regarding the Arbitration Motions. The
parties agree that Highland’s Fourth Amended and Restated Agreement of Limited Partnership
(the “LPA”) 6 contained Section 6.14, a typical mandatory arbitration provision that requires parties
to the LPA to arbitrate certain disputes under certain circumstances (the “Arbitration Clause”):
          In the event there is an unresolved legal dispute between the parties and/or any of
          their respective officers, directors, partners, employees, agents, affiliates or other
          representatives that involves legal rights or remedies arising from this Agreement,
          the parties agree to submit their dispute to binding arbitration under the authority
          of the Federal Arbitration Act …
The Arbitration Clause also significantly limited discovery that could occur in arbitration:
          The discovery process shall be limited to the following: Each side shall be permitted
          no more than (i) two party depositions of six hours each, each deposition to be taken
          pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six
          hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions;
          (v) ten request for production (in response, the producing party shall not be
          obligated to produce in excess of 5,000 total pages of documents, including
          electronic documents); and (vi) one request for disclosure pursuant to the Texas
          Rules of Civil Procedure.
The parties further agree that the LPA, as an executory contract, was rejected under 11 U.S.C.
§ 365 in connection with the court’s order confirming Highland’s plan of reorganization in
February 2021.
       The Dondero/Dugaboy Defendants acknowledge that Counts I–IV of the Amended
Complaints (Breach of Contract; Turnover; Fraudulent Transfers under 11 U.S.C. § 548; and
Fraudulent Transfers under 11 U.S.C. § 544 and the Texas Uniform Fraudulent Transfer Act) are
not subject to the Arbitration Clause.
       The Dondero/Dugaboy Defendants argue in the Arbitration Motions, however, that Counts
V, VI, and VII of the Amended Complaints (seeking a declaratory judgment as to provisions of
LPA and claiming breach of fiduciary duty and aiding and abetting of breach of fiduciary duty—


6 The LPA was executed by Highland’s then-general partner, Strand Advisors, Inc., through the individual James
Dondero, who was also then Highland’s CEO and Highland’s majority limited partner, The Dugaboy Investment
Trust, James Dondero’s family trust, through its trustee, the individual Nancy Dondero, James Dondero’s sister.
(Various other limited partners also signed the LPA, but they are not Note Obligor Defendants.) The “oral agreement”
defense alleges that The Dugaboy Investment Trust, through Nancy Dondero as trustee, as the holder of a Majority
Interest (as defined in the LPA), entered into oral agreements on behalf of Highland with James Dondero to forgive
the demand notes at the center of these Note Adversary Proceedings if certain conditions subsequent were met.


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all counts that, notably, Highland only added after the Note Obligor Defendants articulated their
“oral agreement” defense) are subject to the Arbitration Clause. Highland counters that: (a) the
rejection of the LPA excuses Highland from being forced to submit to mandatory arbitration of
Counts V, VI, and VII; (b) the Dondero/Dugaboy Defendants have waived the Arbitration Clause
by not invoking it at any earlier point in these Note Adversary Proceedings; and (c) the
Dondero/Dugaboy Defendants should be judicially estopped from invoking the Arbitration Clause
now. Highland also argues that arbitration of some but not all the counts of the Amended
Complaints would be inefficient and wasteful, and that any stay of proceedings in this court would
do a disservice to the resolution of the admittedly non-arbitrable issues in Counts I–IV.
      III.      The Significance of the Rejection of the Executory Contract (i.e., the LPA) that
                Contained the Arbitration Clause
       The court acknowledges that there is a wealth of federal case law dictating the strong
federal policy undergirding the Federal Arbitration Act (“FAA”). See, e.g., Moses H. Cone Mem'l
Hosp. v. Mercury Const. Corp., 460 U.S. 1, 24, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983) (describing
the FAA as “a congressional declaration of a liberal federal policy favoring arbitration
agreements”). The FAA was enacted by Congress in 1925 and became effective in 1926. It is
codified at Title 9 of the United States Code and is predicated upon Congress’s exercise of the
Commerce Clause powers granted in the Constitution. The FAA contemplates the judiciary’s
respect for and enforcement of private parties’ agreements to resolve disputes through arbitration.
The FAA provides:
             A written provision in … a contract … to settle by arbitration a controversy
             thereafter arising out of such contract … shall be valid, irrevocable, and
             enforceable, save upon such grounds as exist at law or in equity for the revocation
             of any contract.”7

Thus, arbitration, pursuant to the FAA, is entirely a matter of contract. And, where a contract
contains a provision in which parties agreed to submit future disputes thereunder to arbitration,
these provisions should be enforced according to their terms. Section 4 of the FAA specifically
directs a court to order parties to arbitrate upon a request by a party that is entitled to demand
arbitration in a written contract. The courts have often stated that the FAA reflects a liberal federal
policy favoring arbitration and requires arbitration agreements to be rigorously enforced according
to their terms. 8
        The court also notes that some courts have grappled with whether a bankruptcy court needs
to treat an arbitration provision in a contract any “less mandatory” than other courts. After all,
bankruptcy cases are not like other lawsuits; they are multi-faceted, multi-party, and fast-moving.
It has often been stated that the underlying purposes of the Bankruptcy Code are to: (a) provide
debtors and creditors with orderly and effective administration of bankruptcy estates; and (b)
centralize disputes over debtors’ assets and obligations in one forum. But there is no
“bankruptcy exception” to an arbitration agreement per se—not in any statute and not according

7   9 U.S.C. § 2.
8   See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011) (citations omitted).


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to any court so far. Some courts have opined or suggested that a bankruptcy court, when presiding
over a proceeding involving “non-core” disputes pursuant to 28 U.S.C. § 157(b)—i.e., disputes
that are merely related to a bankruptcy case and would have been litigated elsewhere but for the
broad nexus created by the debtor’s bankruptcy filing—generally must abstain from adjudication
and direct the parties to arbitration when presented with an applicable arbitration provision. 9 But
when a bankruptcy court is presented with a “core” dispute—i.e., one which derives from the
provisions of the Bankruptcy Code—it may be permissible for the bankruptcy court to decline to
order arbitration; after determining that “core” disputes are involved, courts tend to employ a
framework for analysis derived from a nonbankruptcy Supreme Court case called Shearson/Am.
Express, Inc. v. McMahon, 482 U.S. 220 (1987). In a nutshell, the McMahon Court held that a
party seeking to avoid arbitration pursuant to an otherwise applicable agreement must show that
Congress—in enacting whatever statute is involved (i.e., the Bankruptcy Code) intended to
preclude arbitration and that intent must be deducible from: (1) the statute’s text; (2) its legislative
history; or (3) “an inherent conflict between arbitration and the statute’s underlying purposes.”10
Thus, courts—after finding “core” disputes are involved—tend to plow down a complicated trail
of considering whether there is an “inherent conflict” between arbitration and the Bankruptcy Code
in whatever dispute happens to be before the court.
        The Fifth Circuit has addressed the topic of enforceability of arbitration clauses in
bankruptcy in the cases of In re Gandy and In re Nat’l Gypsum.11 In those cases, the Fifth Circuit
instructed that a bankruptcy court may refuse to enforce arbitration clauses and may itself
adjudicate a dispute when it finds that: (a) a matter is core or derives from rights under the
Bankruptcy Code; and (b) enforcement of the arbitration provision would irreconcilably conflict
with the purposes or goals of the Bankruptcy Code.12
        While this is all somewhat enlightening, a slightly different argument is presented to this
court by Highland in its argument that the bankruptcy court should not compel arbitration.
Highland does not deny the existence of any of the above case law nor the fact that Counts V, VI,
and VII involve non-core matters that do not derive from rights under the Bankruptcy Code.
Rather, Highland argues, these Note Adversary Proceedings present a circumstance that very few
courts have addressed. The LPA (or at least the Arbitration Clause) was an executory contract
that Highland rejected in its confirmed Chapter 11 plan. As noted above, no one disputes that
the LPA was rejected pursuant to Bankruptcy Code section 365. The result, argues Highland, is


9 At least one court has suggested that there is a “presumption in favor of arbitration [that] usually trumps the lesser
interest of bankruptcy courts in adjudicating non-core proceedings.” MBNA Am. Bank, N.A. v. Hill, 436 F.3d 104, 108
(2d Cir. 2006). But see Hays & Co. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 885 F.2d 1149, 1156-1158 (3d
Cir. 1989) (determining there is no discretion to deny arbitration in non-core matters). See also Gandy v. Gandy (In
re Gandy), 299 F.3d 489, 496 (5th Cir. 2002) (“it is generally accepted that a bankruptcy court has no discretion to
refuse to compel the arbitration of matters not involving ‘core’ bankruptcy proceedings under 28 U.S.C. § 157(b)”);
Ins. Co. of N. Am. v. NGC Settlement Trust & Asbestos Claims Mgmt. Corp. (In re Nat'l Gypsum Co.), 118 F.3d 1056
(5th Cir. 1997) (same).
10   McMahon, 482 U.S. at 227.
11   Gandy, 299 F.3d at 489; Nat'l Gypsum Co., 118 F.3d at 1056.
12   In re Nat'l Gypsum Co., 118 F.3d at 1068-69.


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that Highland is no longer bound by the LPA’s provisions that impose specific performance
obligations on it—provisions such as the Arbitration Clause. A counterparty to a rejected
executory contract can merely seek monetary damages, Highland argues, but it cannot force a
debtor to perform under a rejected executory contract.
       Highland’s argument finds support in a both lengthy and well-reasoned opinion by District
Judge David Godbey of this District — Janvey v. Alguire, 2014 U.S. Dist. LEXIS 193394 (N.D.
Tex. Jul. 20, 2014), aff’d on different grounds at 847 F.3d 231 (5 th Cir. 2017), dealing with federal
receiverships (in which the court made analogies to the bankruptcy process)—as well as in an old
law review article written by renowned University of Texas Law School Professor Jay Westbrook
(often considered the modern-day expert on executory contracts in bankruptcy). See Jay
Westbrook, The Coming Encounter: International Arbitration and Bankruptcy, 67 UNIV. OF MINN.
LAW SCHOOL 595 (1983).
        The Janvey opinion arose in the context of a federal receivership commenced at the request
of the Securities and Exchange Commission in response to the massive R. Allen Stanford Ponzi
scheme. Ralph S. Janvey was the receiver (“Receiver”) who took possession of all receivership
assets and records. Pursuant to those powers, the Receiver filed suit against former employees
(the “Employee Defendants”) who previously worked in various capacities for the Stanford
enterprises (“Stanford Entities”) and received salary, commissions, bonuses, or later forgiven loans
from the Stanford Entities. The Receiver’s suit alleged that the Employee Defendants received
fraudulent transfers in violation of the Texas Uniform Fraudulent Transfer Act (TUFTA) or, in the
alternative, were unjustly enriched at the expense of the creditors of the Receivership Estate. Some
of the Employee Defendants filed motions to compel arbitration. According to a later Fifth Circuit
opinion, the arbitration agreements were contained in: (1) promissory notes between the Employee
Defendants and the company that governed the upfront loan payments that the company awarded
to the Employee Defendants when they joined Stanford; (2) the broker-dealer forms that the
company submitted to the Financial Industry Regulation Authority (FINRA) when registering the
Employee Defendants as brokers; (3) FINRA’s internal rules governing disputes between brokers
and their employers; and (4) the company’s Performance Appreciation Rights plan. The
arbitration clauses provided that “any controversy arising out of or relating to this Note, or default
on this Note, shall be submitted to and settled by arbitration pursuant to the constitution, bylaws,
rules and regulations of the National Association of Securities Dealers (NASD).” Janvey v.
Alguire, 847 F.3d 231, 237 (5th Cir. 2017).
       The issue of whether arbitration was required went back and forth between Judge Godbey
and the Fifth Circuit and, ultimately, the precise issue pending before Judge Godbey was whether
to deny or grant the motions to compel arbitration based on the question of “whether the Receiver
is bound by the arbitration clauses if he sues, as he must, on behalf of the Stanford Entities.”
         Judge Godbey declined to order arbitration because the Receiver had not adopted the
arbitration agreements at issue and because arbitration of the Receiver’s claims would frustrate a
central purpose of federal equity receiverships. Judge Godbey noted that, before a general
requirement to arbitrate exists, a party must first be bound to an arbitration agreement — either as
a signatory or through a principle of law or equity. Judge Godbey stated that discussions of



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possible exceptions to this general requirement to arbitrate, like McMahon’s contrary
congressional command, are only necessary after such an initial determination. Judge Godbey
opined that equity receivers, as non-signatories to an arbitration agreement, can, in fact, be bound
to the arbitration agreement to the same extent receivership entities would be bound. But there
remained a significant resultant question: whether the Employee Defendants’ arbitration
agreements were contracts that the Receiver could reject, “an ability that has deep historical roots
for both federal equity receivers and bankruptcy trustees and that continues to be an important tool
for both.”
        Applying Professor Vern Countryman’s material breach test, Judge Godbey concluded that
arbitration agreements must be analyzed as separate executory contracts, based on the nature of
the agreement as well as arbitration caselaw regarding severability. Citing Professor Westbrook,
he noted that, “‘[v]iewed as an independent contractual obligation of the parties, an arbitration
agreement is a classic executory contract, since neither side has substantially performed the
arbitration agreement at the time enforcement is sought.’ Westbrook, supra note 26, at 623
(footnote omitted). Furthermore, the appropriate remedy in this circumstance cannot be for the
Court to require specific performance by the trustee — i.e., to compel arbitration — because
‘injured part[ies] cannot insist on specific performance by the trustee.’ See id. at 619 (collecting
cases).” Janvey, 2014 U.S. Dist. LEXIS 193394 at *113.
        Judge Godbey went on to opine that the Receiver had rejected the arbitration agreement,
that the rejection was proper, and that the Receiver was not bound to arbitrate—further noting that
if the court required the Receiver to adopt the arbitration agreements, it would greatly burden and
deplete the receivership estate. Such a result, weighed in the balance, would be unjust and
inequitable.
         The Fifth Circuit ultimately affirmed, 847 F.3d 231 (5th Cir. 2017), but applied a different
analysis. It determined that the Stanford entity in whose shoes the Receiver had stepped, for
purposes of bringing the TUFTA claims (i.e., Stanford International Bank), was not a signatory to
the arbitration agreements and was not otherwise bound by them. The Fifth Circuit also
determined that, with regard to one Employee Defendant (Giusti) who stood in a unique position
(in that there was an arbitration agreement that the Receiver’s predecessor was party to and bound),
that Guisti waived the right to arbitrate by substantially invoking the judicial process (through the
filing of a motion to dismiss, an answer, serving written discovery and answering discovery—
which had caused delay and expense). As for Judge Godbey’s “broader policy argument” that the
federal receivership statutes were at odds with the FAA’s mandate in favor of arbitration, noting
that these were “important concerns,” the Fifth Circuit stated that “we are wary of endorsing these
broad policy arguments in the absence of specific direction from the Supreme Court.” Id. at 245.
But the Fifth Circuit did not otherwise address the arguments.
       While the Janvey case involved a federal receiver, Judge Godbey looked almost entirely to
bankruptcy law and to Bankruptcy Code section 365 to reach his ruling. This court finds Janvey
to be persuasive (and possibly binding) on this court. Moreover, just as a federal receiver is
analogous to a bankruptcy trustee, a debtor-in-possession is, of course, statutorily the same as a
bankruptcy trustee. See, e.g., 11 U.S.C. § 1107.



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        To be clear, if a bankruptcy trustee rejects an executory contract, the rejection, of course,
constitutes a breach of the contract and subjects the estate to a claim for money damages on behalf
of the injured party. 11 U.S.C. § 365(g). Significantly, however, the injured party cannot insist
on specific performance by the trustee. See Westbrook, The Coming Encounter, at 619 (and
numerous cases cited therein). Instead, the injured party is treated as having a prepetition claim
for damages arising as if the breach occurred immediately before the filing of the bankruptcy
petition. Professor Westbrook notes that the issue then becomes whether such a prepetition claim,
including a claim arising from rejection, must be liquidated pursuant to the arbitration clause. Most
jurisprudence in the bankruptcy context dealing with arbitration clauses does not analyze this
as a traditional executory contract conundrum. And yet, to use Professor Westbrook’s words,
an arbitration agreement is a classic executory contract, since neither side has substantially
performed the arbitration agreement at the time enforcement is sought. Id. at 623. And although
“arbitration survives the contract” as a matter of contract law, “executory obligations may be
avoided by the trustee as a matter of bankruptcy law through the exercise of the trustee’s power to
reject executory contracts.” Id. “If specific performance is not available against a trustee, it follows
that an arbitration agreement is like any other executory contract which the trustee may reject.”
Id. at 624.
         The Janvey decision is not the only case to have addressed the effect of rejection on the
viability of an arbitration clause within a rejected executory contract. The Dondero/Dugaboy
Defendants cite the court to In re Fleming Companies, Inc., 325 B.R. 687 (Bankr. D. Del. 2005),
a case from another bankruptcy court that predates Janvey by almost a decade, for the proposition
that rejection of an executory contract does not prevent a party from invoking an arbitration clause
in that contract. With due respect, the court believes the reasoning in Janvey to be more persuasive
than the bankruptcy court’s in Fleming Cos. (and Janvey is potentially binding precedent on this
court). It also bears noting that it was the debtor in Fleming Cos., not the executory contract’s
counterparty, who was invoking the arbitration clause in the contract the debtor had previously
rejected. That distinction is not without significance.
        In summary, this court accepts Highland’s argument that the LPA was an executory
contract duly rejected pursuant to Bankruptcy Code section 365, and that the Arbitration Clause
should likewise be considered a separate executory agreement that was rejected. Accordingly,
Highland cannot be forced to specifically perform under the Arbitration Clause or the LPA by
mandatorily participating in arbitration of Counts V, VI, and VII. The court defers to the
compelling reasoning of Judge Godbey in Janvey on this point. The court, like Judge Godbey,
also finds as a matter of fact that requiring arbitration in this case would impose undue and
unwarranted burdens and expenses on the parties to the detriment of Highland’s creditors.
    IV.     Waiver
       Even if this court is in error in determining that the Arbitration Clause is no longer binding
on Highland because it was rejected pursuant to Bankruptcy Code section 365, the court finds as
a matter fact that the Dondero/Dugaboy Defendants have waived any right to invoke the
Arbitration Clause. The court has taken judicial notice of its own docket, both in these Note
Adversary Proceedings and in the administrative Chapter 11 case, and has considered the entire



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record of both proceedings, as well as the Declaration of John A. Morris in Support of Debtor’s
Objection to Motion to Compel Arbitration and Stay Litigation [Doc. 94, 78, 83, and 78], and the
exhibits annexed thereto, in making the following findings of fact.
        The Note Adversary Proceedings were filed in January 2021 (after Highland earlier made
demands on the Note Obligor Defendants or otherwise declared events of default). One of the
Note Obligor Defendants (Mr. Dondero) timely answered, pleading an affirmative defense that
Highland agreed not collect on the underlying notes—but that answer contained nothing more
specific than this, nor any mention of arbitration. Amended Answers were later filed by the Note
Obligor Defendants, elaborating on and/or adopting the affirmative defense that, through the oral
agreement, Highland agreed to forgive the obligations under the notes as compensation to Mr.
Dondero “upon fulfillment of conditions precedent.” Roughly 90 days after the filing of the Note
Adversary Proceedings, the Note Obligor Defendants filed motions to withdraw the reference,
which this court spent significant time addressing in making a report and recommendation to the
District Court in each Note Adversary Proceeding. No mention of arbitration was made to this
court during those proceedings. During a hearing before the court on June 10, 2021, Highland
announced its intention to add claims against the Dondero/Dugaboy Defendants for breach of
fiduciary duty, yet the issue of arbitration was not raised at that point, or a month later when the
Dondero/Dugaboy Defendants received a draft of the Amended Complaint adding Counts V, VI,
and VII. Pursuant to the parties’ agreement, Highland filed that Amended Complaint on August
27, 2021, as the Dondero/Dugaboy Defendants’ “oral agreement” defense became clearer. Only
on September 1, 2021, did the Dondero/Dugaboy Defendants file their Arbitration Motions and
raise the issue of arbitration under the Arbitration Clause for the first time in these proceedings,
more than seven months after the litigation began. At the same time, the Dondero/Dugaboy
Defendants also pursued extensive discovery, seeking and obtaining responses to interrogatories
and documents requests in scope and number significantly more than the Arbitration Clause
permitted, all in accordance with pre-trial stipulations the defendants both negotiated with
Highland and then asked this court to approve, which the court did.
         Although courts in the Fifth Circuit sometimes apply a presumption against waiver of an
arbitration right, the right can certainly be waived. 13 “Waiver will be found when the party seeking
arbitration substantially invokes the judicial process to the detriment or prejudice of the other
party.” 14 In this context, prejudice “refers to the inherent unfairness—in terms of delay, expense,
or damage to a party’s legal position—that occurs when the party’s opponent forces it to litigate
an issue and later seeks to arbitrate that same issue.’” 15 A party waives arbitration when it
“‘engage[s] in some overt act in court that evinces a desire to resolve the arbitrable dispute through
litigation rather than arbitration.’” 16


13   Williams v. Cigna Fin. Advisors, Inc., 56 F.3d 656, 661 (5th Cir. 1995).
14   Miller Brewing Co. v. Fort Worth Distrib. Co., 781 F.2d 494, 497 (5th Cir. 1986).
15Subway Equip. Leasing Corp. v. Forte, 169 F.3d 324, 327 (5th Cir. 1999) (quoting Doctor’s Assocs., Inc. v. Distajo,
107 F.3d 126, 134 (2d Cir. 1997)).
16Keytrade USA v. Ain Temouchent M/V, 404 F.3d 891, 897 (5th Cir. 2005) (quoting Republic Ins. Co. v. PAICO
Receivables, LLC, 383 F.3d 341, 344 (5th Cir. 2004)). See also Price v. Drexel Burnham Lambert, Inc., 791 F.2d


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         While every situation is unique, here the court finds that the Dondero/Dugaboy Defendants
waived their right (if any still remained) to demand arbitration, due to their multiple answers, their
motions to withdraw the reference, extensive discovery that far exceeded what the Arbitration
Clause permitted, and complete silence about the possibility of arbitration for more than eight
months. Even though Counts V, VI, and VII were not added by Highland until more than seven
months after the Note Adversary Proceedings were filed, the Dondero/Dugaboy Defendants had
reason to know that their “oral agreement” affirmative defense might implicate the LPA and the
Arbitration Clause, and yet they didn’t raise the subject of arbitration until many months of
litigation activity in the Note Adversary Proceedings had occurred in this court. 17 The resulting
delay and expense warrant this court’s applying waiver as permitted by the Fifth Circuit authority
cited above. This court finds as a matter of fact that the Dondero/Dugaboy Defendants waived the
relief they seek in the Arbitration Motions.
       V.       Judicial Estoppel, Waste and Inefficiency
        Highland also asked the court: (a) to judicially estop the Dondero/Dugaboy Defendants
from arguing entitlement to arbitration in light of prior contradictory positions these defendants
took in earlier pleadings and arguments before this court, and (b) to decline to order arbitration
because of the waste and inefficiency arbitration would represent for these proceedings. Because
the court rules that rejection of the Arbitration Clause precludes Highland’s being forced to submit
to arbitration, and because the court finds that the Dondero/Dugaboy Defendants waived the relief
they sought in the Arbitration Motions, the court need not and does not address Highland’s
arguments pertaining to judicial estoppel or the practical implications of ordering arbitration.
       VI.      Stay of Counts I–IV
         Finally, because the court denies the arbitration requested in the Arbitration Motions, there
is no good cause to stay litigation in the entire Note Adversary Proceedings. Even if the court has
erred in its ruling on the Arbitration Motions, there still exists no good cause to stay the Note
Adversary Proceeding as to Counts I-IV. The Dondero/Dugaboy Defendants acknowledge that
Counts I-IV are non-arbitrable claims and, moreover, in the event Plaintiff were to prevail on them,
it is likely that Plaintiff would not even pursue Counts V–VII. To clarify, if Plaintiff prevails on
Counts I and II (i.e., the breach of contract claims and turnover)—which would involve a finding
that there was no oral agreement for nonpayment—then all other counts would become moot.
And, if the court were to find that there were such an agreement, Plaintiff could potentially still
prevail on Counts III and IV (the claims that such an agreement would constitute a fraudulent
transfer—also non-arbitrabal). It would seem that only if Plaintiff loses on all of these non-
arbitrable claims would it have any interest in pursuing Counts V-VII (i.e., an interest in arguing
that the oral agreements amounted to breach of fiduciary duty and aiding and abetting breach of
fiduciary duty).


1156, 1162 (5th Cir. 1986) (party waived arbitration because it “initiated extensive discovery, answered twice, filed
motions to dismiss and for summary judgment, filed and obtained two extensions of pre-trial deadlines, all without
demanding arbitration”).
17   The court notes that all Note Obligor Defendants consist of either Mr. Dondero or entities he controls.


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        The requested stay would also be illogical in this context. The “oral agreement” defense
relies on the existence of an oral contract between Highland (via Dugaboy, through its trustee, Ms.
Dondero) and Mr. Dondero. The existence of that contract is not an arbitrable issue. The
implications of that contract’s existence are what would potentially be arbitrable. If litigation on
Counts I–IV demonstrates that there was no such “oral agreement,” then there would be nothing
to arbitrate because Counts V–VII would be rendered moot. Staying the litigated determination
regarding the existence of the “oral agreement” in favor of arbitrating issues that only arise if there
ever were such an agreement strikes the court as backwards. Arbitration should await that
determination, not the other way around.
      Accordingly, the Dondero/Dugaboy Defendants’ requests to stay the Note Adversary
Proceedings have no merit and are denied.
                                              ORDER
For the reasons stated in the above Memorandum Opinion and Order, the Arbitration Motions and
Stay Motions related thereto are DENIED.


                                       ### End of Order ###




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